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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

MATTHEW WALKER, et al

               Plaintiffs,

v.                                           Case No. 2:17-cv-11034
                                             Hon. Victoria A. Roberts
FABRIZIO & BROOK, P.C.,

          Defendant.
__________________________________________________________________

              PARTIES’ RULE 41(A)(1)(A)(II) STIPULATION AND
                  ORDER TO DISMISS WITH PREJUDICE

          The parties, through their respective counsel and pursuant to Rule

41(a)(1)(A)(ii), hereby stipulate to dismiss this case with prejudice, with no

damages, fees, costs or sanctions to be awarded to any party.



       /s/ Brian P. Parker                  /s/ Kathleen H. Klaus
Brian P. Parker (P48617)              Kathleen H. Klaus (P67207)
BRIAN P. PARKER PC                    MADDIN HAUSER ROTH
Attorney for Plaintiffs                  & HELLER, PC
4301 Orchard Lake Road                Attorneys for Fabrizio & Brook, P.C.
Suite 180-208                         28400 Northwestern Highway, 2nd Floor
West Bloomfield, MI 48323             Southfield, Michigan 48034
(248) 342-9583                        (248) 359-7520
brianparker@collectionstopper.com     kklaus@maddinhauser.com


Dated:         March 22, 2018



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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

MATTHEW WALKER, et al

                Plaintiffs,

v.                                                  Case No. 2:17-cv-11034
                                                    Hon. Victoria A. Roberts
FABRIZIO & BROOK, P.C.,

          Defendant.
__________________________________________________________________

                      ORDER TO DISMISS WITH PREJUDICE

          This cause coming to be heard on the parties’ stipulation,

          IT IS ORDERED that this case is DISMISSED WITH PREJUDICE and

without costs or fees to any party.



                                          S/ Victoria A. Roberts
                                          Victoria A. Roberts
                                          United States District Judge

Dated: 3/22/18




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